Case 1:21-cv-00929-JMB-SJB ECF No. 139, PageID.2924 Filed 08/31/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN


 PUBLIC INTEREST LEGAL
 FOUNDATION,

        Plaintiff,                                                 Hon. Jane M. Beckering
 v.
                                                                   Case No. 1:21-cv-00929
 JOCELYN BENSON,

        Defendant.


                                            ORDER

       This matter is before the Court on Plaintiff Public Interest Legal Foundation’s Motion to

Compel (ECF No. 113). For the reasons stated on the record at the hearing held August 31, 2023,

the motion (ECF No. 113) is granted in part and denied in part. Defendant shall produce the

documents in response to Plaintiff’s Request for Production No. 8 and 18 within 14 days of this

Order with redaction of information protected by statute. The parties shall have until October 2,

2023, to file any dispositive motions.

       IT IS SO ORDERED.

Dated: August 31, 2023                                      /s/ Sally J. Berens
                                                           SALLY J. BERENS
                                                           U.S. Magistrate Judge
